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                      IN THE DISTRICT COURT OF THE UNITED STATES
                          FOR THE MIDDLE DISTRICT OF ALABAMA
                                   NORTHERN DIVISION


UNITED STATES OF AMERICA,

                        Plaintiff,

                 v.                                   MISC. NO. c:1(1-rric-- 38oZ.- mtt-r---14),
TRANSAMERICA PREMIUM LIFE
INSURANCE COMPANY,

                         Garnishee,

COMONE D. ROSS,

                        Defendant.

                                      WRIT OF GARNISHMENT

GREETINGS TO:          TRANSAMERICA PREMIUM LIFE INSURANCE COMPANY
                       4333 Edgewood Road NE
                       Cedar Rapids, IA 52499



       Judgment having been entered in the above cause on September 25, 2017, in the sum of

$285,612.00, against the defendant, COMONE D. ROSS said sum having not been paid, you are

comrnanded to immediately withhold all property in your custody, control or possession of the

defendant, COMONE D. ROSS including but not liinited to, unclaimed property also known

as premium refunds on individual in account number 115499563 and retain it in your

possession until you receive instructions from the Court which will tell you what to do with the

property and which will notify you when this Writ is no longer in effect.
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       1N WITNESS WHEREOF, I, Debra P. Hackett, Clerk of said Court, have Set My Hand

this the   2044/-    day of     ea/14CA                              alit2-01



                                             DEBRA P. HACKETT,Clerk
                                             United States District Court
                                             For the Middle District of labama


                                                  ty Clerk
